Case:24-12624-KHT Doc#:309 Filed:02/10/25 Entered:02/10/25 10:03:11 Pagei of 5

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

IN RE:
Case No. 24-12624-KHT
DNC AND TCPA LIST SANITIZER, LLC
EIN: XX-XXXXXXX Chapter 11

Sub-Chapter V

Nowe” “oe ee eee” See See”

Debtor

NOTICE OF FIRST APPLICATION FOR INTERIM ALLOWANCE AND PAYMENT
OF ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS FOR
WADSWORTH GARBER WARNER CONRARDY, P.C.

OBJECTION DEADLINE: MARCH 3, 2025

YOU ARE HEREBY NOTIFIED that Wadsworth Garber Warner Conrardy, P.C.
(“WGWC”), bankruptcy counsel for DNC and TCPA List Sanitizer, LLC has filed its First
Application for Interim Allowance and Payment of Attorneys’ Fees and Reimbursement of Costs
(the “Application”) and requests the following relief} WGWC has made an Application to the
Court for interim allowance and payment of attorneys’ fees and reimbursement of costs in the
amount $41,427.99 (fees charged: $41,345.00 costs advanced: $82.99) for the period of October
4, 2024, through December 31, 2024, and authorization to apply the Debtors’ retainer to pay the
outstanding amount of $14,228.75.

If you oppose the Application or object to the requested relief your objection and request
for hearing must be filed on or before the objection deadline stated above, served on the movant
at the address indicated below, and must state clearly all objections and any legal basis for the
objections. The Court will not consider general objections.

In the absence of a timely and substantiated objection and request for hearing by an
interested party, the Court may approve or grant the requested relief without any further notice to
creditors or other interested parties.

Dated: February 10, 2025 Respectfully submitted,

By:/s/ Aaron A. Garber
Aaron A. Garber #36099
Wadsworth Garber Warner Conrardy, P.C.
2580 West Main Street, Suite 200
Littleton, CO 80120
Telephone: (303) 296-1999
Telecopy: (303) 296-7600
Email: agarber@wgwc-law.com

Case:24-12624-KHT Doc#:309 Filed:02/10/25 Entered:02/10/25 10:03:11 Page2 of 5

9013-1 CERTIFICATE OF SERVICE OF MOTION, NOTICE AND PROPOSED ORDER

The undersigned certifies that on February 10, 2025, I served by ECF a copy of the FIRST
APPLICATION FOR INTERIM ALLOWANCE AND PAYMENT OF ATTORNEYS’
FEES AND REIMBURSEMENT OF COSTS FOR WADSWORTH GARBER WARNER
CONRARDY, P.C., notice and proposed order on all parties against whom relief is sought and
those otherwise entitled to service pursuant to FED.R.BANKR.P. and these L.B.R. upon the

following:

Chad S.Caby Chad.Caby@wbhd-us.com, chadwick-caby-

5693 @ecf.pacerpro.com, jeastin@lewisroca.com

Peter A. Cal pcal@sah.com, rneal@shermanhoward.com;efiling@sah.com

Jeffrey Cohen jcohen@cohentrial.com

Jason Cooper jason.cooper@fmglaw.com

John Gray jgray@shermanhoward.com,
dfouts@shermanhoward.com;efiling@sah.com;lkostyk@shermanhoward.com;lkostyk@sherman
howard.com

Vandana Koelsch vkoelsch@allen-vellone.com, la@allen-vellone.com,allen-
vellone@myecfx.com

Arthur Lindquist-Kleissler © Arthuralklaw@gmail.com,
seanalklaw@gmail.com;LindquistKleisslerCompanyLLC@jubileebk.net

Joli A. Lofstedt joli@jaltrustee.com, ecf.alert+Lofstedt@titlexi.com,brenda@jaltrustee.com
Alan K. Motes Alan.Motes@usdoj.gov

Reza Rismani _reza.rismani@fmglaw.com

Katharine 8. Sender ksender@allen-vellone.com, la@allen-vellone.com,allen-
vellone@myecfx.com

Robert J. Shilliday rjs@shillidaylaw.com

US Trustee USTPRegion|19.DV.ECF@usdoj.gov

2002-1 CERTIFICATE OF SERVICE OF NOTICE

The undersigned further certifies that on February 10, 2025, I served by prepaid first class
mail a copy of the foregoing Notice in accordance with FED.R.BANKR.P. 2002 and 11 U.S.C.
§342(c) (if applicable) on parties in interest contained on the attached list, which is a copy of the
Court’s Creditor Address Mailing Matrix for this case, obtained from PACER on February 10,
2025.

By: /s/ Nichole Garber
For Wadsworth, Garber, Warner Conrardy, P.C.

Case:24-12624-KHT Doc#:309 Filed:02/10/25 Entered:02/10/25 10:03:11 Page3 of 5

Label Matrix for local noticing
1082-1

Case 24-12624-KET

District of Colorado

Denver

Mon Feb 10 09:58:08 MST 2025

Allen Vellone Wolf Helfrich & Factor P.C.
1600 Stout Street Suite 1900
Denver, CO 80202-3156

American Express National Bank
c/o Becket and Lee LLP

PO Box 3001

Malvern PA 19355-0701

Chad $. Caby

Womble Bond Dickinson (US) LLP
1601 19th Street

Ste 1000

Denver, CO 80202-2995

(p) JPMORGAN CHASE BANK WA
BANKRUPTCY MAIL INTAKE TEAM
700 KANSAS LANE FLOOR 01
MONROE LA 71203-4774

Jeffrey Cohen

Cohen LLC

1600 Broadway

Ste 1660

Denver, CO 80202-4915

Colorado Department Of Revenue
1881 Pierce St.

Bankruptcy Unit, Room 104
Lakewood CO 80214-1407

GLEGAL, LLC

c/o Gary Tucker

1600 Broadway No. 1660
Denver, CO 80202-4915

John Gray

Sherman & Howard L.L.C.
675 15th Street

Ste 2300

Denver, CO 80202-4258

Vandana Koelsch

Allen Vellone Wolf Helfrich & Factor PC
1600 Stout Street

Ste. 1900

Denver, CO 80202-3156

Adam Young, Tubmanburg Limited, and Ringba,
c/o Chad §. Caby, Esq.

1601 19th Street, Suite 1000

Denver, Co 80202-2995

American Express
Business Line of Credit PO Box 570622
Atlanta, GA 30357-3110

American Express National Bank, AENB
c/o Zwicker and Associates, P.C.
Attorneys/Agents for Creditor

P.O. Box 9043

Andover, MA 01810-0943

Peter A, Cal

Sherman Howard LLC
675 Fifteenth Street
Suite 2300

Denver, CO 80202-4258

John Cimino
5500 East Yale Avenue, Suite 201
Denver, CO 80222-6930

Cohen Trial, LLC
1600 Broadway Suite 1660
Denver, CO 80202-4915

Jason Cooper

Treece Alfrey Musat P.C.
633 17th St

Ste 2200

80202

Denver, CO 80202-3660

Aaron A Garber

2580 Wast Main Street
Suite 200

Littleton, CO 80120-4631

IRS
PO Box 7346
Philadelphia PA 19101-7346

Arthur Lindquist-Kleissler
950 §. Cherry St.

Ste. 418

Denver, CO 80246-2662

Allen Vellone Wolf Halfrich & Factor, PC
1600 Stout Street Stuie 1900
Denver, CO 80202-3160

American Express
PO Box 6031
Carol Stream, IL 60197-6031

CT Corporation System, as representative
Attn: SPRS

330 N Brand Blvd Ste 700

Glendale, CA 91203-2336

Cashyew Holding, LLC
405 Cherry Hills Way
Colorado Springs, CO 80921-2667

Jeffery Cohen

Cohen, LLC

1600 Broadway

Suite 1660

Denver, CO 80202-4915

Cohen, LLC

1600 Broadway

Suite 1660

Denver, CO 80202-4915

(p)DNC AND TCPA LIST SANITIZER LLC
ATTN MICHAEL OHARE

405 CHERRY HILLS WAY

COLORADO SPRINGS CO 80921-2667

Glegal, LLC

1600 Broadway

#1660

Denver, CO 80202-4915

JPMorgan Chase Bank, N.A.

c/o Sherman & Howard L.L.C.
Attn: Peter A, Cal, Esq.

675 Fifteenth Street, Suite 2300
Denver, CO 80202-4258

{p}JOLI A LOFSTEDT

ATTN JOLI A LOFSTEDT TRUSTEE
PO BOX 270561

LOUISVILLE CO 80027-5009
Case:24-12624-KHT Doc#:309 Filed:02/10/25 Entered:02/10/25 10:03:11 Page4 of 5

Alan K. Motes

Byron G. Rogers Federal Building
1961 Stout st.

Ste. 12-200

Denver, CO 80294-6004

Quandry Peak Research
205 $ Broadway Suite 300
Los Angeles, CA 90012-3607

Securities and Exchange Commission
Central Regional Office

1961 Stout st.

Ste. 1700

Denver CO 80294-1700

Robert J. Shilliday III
Shilliday Law, P.C.

2616 W. Alamo Avenue
Littleton, CO 80120-1921

Mountain Peak Law Grpoup PC
Stacy D. Stein

Rusty J. Trevino 101 E Gray St Ste B

Norman, OK 73069-7257

Ringba, LLC
8 the Green Suite 11558
Dover DE 19901-3618

Securities and Exchange Commission
Midwest Regional Office

175 W. Jackson Blvd.

Ste. 900

Chicago IL 60604-2815

US Trustee

Byron G. Rogers Federal Building
1961 Stout St.

Ste. 12-200

Denver, CO 80294-6004

Michael 0’ Hare
405 Cherry Hills Way
Colorado Springs, CO 80921-2667

Reza Rismani

Freeman Mathis & Gary, LLP
633 17th Street Suite 2200
Denver, CO 80202-3661

Katharine §. Sender

Allen Vellone Wolf Helfrich & Factor B.C
1600 Stout Street

Ste. 1900

Denver, CO 80202-3156

The preferred mailing address (p} above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 0.5.C. 342(f) and Fed.R.Bank.?. 2002 (g} (4).

Chase
PO Box 78039
Phoenix, AZ 85062-8039

(d} JP Morgan Chase Bank NA
PO Box 6026 IL1-1145
Chicago, IL 60680-6026

{d)Chase Bank
PO Box 6026 Mail Code IL 1-0054
Chicago, IL 60680-6026

Joli A. Lofstedt

Joli A. Lofstedt, Trustee
PO Box 270561
Louiaville, CO 80027

DNC and TCPA LIST SANITIZER, LLC
985 Pico Point
Colorado Springs, CO 80905

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d} address.

{d)Allen Vellone Wolf Helfrich & Factor P.C.

1600 Stout Street Suite 1500
Denver, CO 80202-3156

{d) JPMorgan Chase Bank, NA.

c/o Sherman & Howard L.L.¢.
Attn; Peter A. Cal, Esq.

675 Fifteenth Street, Suite 2300
Denver, CO 80202-4258

(ujAllen Vellone Wolf Helfrich & Factor, P.C.

{u)Ringba, LLC

(vu) FirstBank

{u) SL Biggs, a Division of SingerLewak LLP
Case:24-12624-KHT Doc#:309 Filed:02/10/25 Entered:02/10/25 10:03:11 Page5d of 5

{u) Tubmanburg Limited {u}Adam Young End of Label Matrix
Mailable recipients 40
Bypassed recipients 8
Total 48
